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P|aintiff

VS.
CR. NO. 04-20485-D

YVONNE PATTERSON

Defendant. _

 

oRDER oN coNTzNuANcE AND sPEClFYlNG PERloD oF EXcLuDABl_E DELAY
AND SETT|NG

 

This cause was set for a change of plea hearing on Ju|y 7, 2005. At that time,
counsel forthe defendant requested a continuance of the hearing because the defendant
was unable to get to the courthouse due to bomb threat at her place of employment

The Court granted the request and reset the hearing to Monday, August 1, 2005l
at 4:30 p.m.. in Courtroom 3. Qt_h F|oor of the Federal Building, Memphis, TN.

The period from Ju|y 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this LZ day Of Ju|y, 2005.

 

UN|TED STATES DlSTR|CT JUDGE

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Honorable Bernice Donald
US DISTRICT COURT

